                                      CASE 0:20-cr-00113-DSD-BRT Doc. 50 Filed 04/08/21 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )               COURTROOM MINUTES - CRIMINAL
                                                             )                 BEFORE: BECKY R. THORSON
                                          Plaintiff,         )                     U.S. Magistrate Judge
                                                             )
   v.                                                        )    Case No:            20-cr-113 DSD/BRT
                                                             )    Date:               April 8, 2021
 Jose A Felan, Jr,                                           )    Video Conference
                                                             )    Time Commenced:     12:59 p.m.
                                          Defendant,         )    Time Concluded:     1:10 p.m.
                                                                  Time in Court:      11 minutes


APPEARANCES:
   Plaintiff: Allison Ethen, Assistant U.S. Attorney
   Defendant: Manny Atwal, Assistant Federal Public Defender
                          X FPD          X To be appointed


   Date Charges Filed: 7/23/2020                            Offense: arson

   X Advised of Rights

on        X Superseding Indictment

X Defendant detained, per the detention hearing in the Southern District of California.

X Defendant also arraigned at this hearing, see separate arraignment minutes.



Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.


                                                                                                   s/SAE
                                                                                               Signature of Courtroom Deputy




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